           Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
CYRESS SMITH,
                                    Plaintiff,               Case No.

                          -against-                          COMPLAINT & JURY DEMAND

THE CITY OF NEW YORK, INSPECTOR
JOHN COSGROVE,
                                    Defendants.
---------------------------------------------------X


        Plaintiff Cyress Smith (hereinafter “Plaintiff,”) as and for his complaint by his

undersigned counsel, alleges as follows:

                                             INTRODUCTION

1.      This is a suit to obtain relief for discrimination on the basis of Plaintiff’s race, and

        discrimination on the basis of disability, as well as retaliation arising from the racial

        discrimination which continues through his employment by the City of New York,

        (hereinafter “the City” through its agency, the New York City Police Department

        (hereinafter “ the NYPD”).

                                                       VENUE

2.      The basis of venue is Plaintiff’s employment in New York County and New York County

        being the venue where the events alleged in the complaint occurred. Venue is proper in

        the United District Court for the Southern District of New York pursuant to 28 U.S.C.

        §§1391(b) and (c) and 42 U.S.C. 2000e-5(f)(3) in that the offices of defendants are within

        this district, a substantial part of the events giving rise to this claim arose in this district

        and records relevant to the practices complained of herein are located in this district.



                                                         1
       Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 2 of 15



                          JURISDICTIONAL PREREQUISTE

3.   Plaintiff filed a charge of discrimination with the Equal Employment Opportunity

     Commission (“EEOC”) and a right to sue letter was received by the plaintiff on

     December 30, 2016.

4.   This complaint is filed within 90 days of December 30, 2016.

                                         PARTIES

5.   Plaintiff Cyress Smith is currently employed as a Sergeant in the NYPD currently posted

     to the 42nd Precinct of NYPD, located in the Bronx, New York, since September 22,

     2016, but for the 10 years preceding that date, he had been posted to the Performance

     Monitoring Unit, Risk Mitigation Bureau, located in Manhattan, County, City and State,

     of New York.

6.   At all times relevant Plaintiff, as an employee of the NYPD, a department of the City, is

     by virtue of that fact, an “employee” of the CITY within the meaning of the relevant

     statutes.

7.   Upon information and belief, the CITY is a domestic government agency and is engaged

     in business in the state of New York, with a place of business in New York County.

8.   At all times relevant to this action, CITY was an “employer” for purposes of the common

     law of New York and the relevant statutes.

                               FACTUAL ALLEGATIONS

9.   Since May 2015, until today, Cyress Smith has been subjected to racial discrimination,

     and racial discrimination by virtue of a hostile work environment, and has been subjected

     to continuous and continuing acts of retaliation because of his race, and has been

     discriminated against because of his disability.

                                              2
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 3 of 15



10.   Plaintiff has been a police officer in the NYPD for 19 years and has been in the rank of

      Sergeant for 12 years. For the last 10 years, he has been a key personnel in the NYPD’s

      Performance Monitoring Unit, and until he was transferred on September 22, 2016, was

      the longest serving member of the Performance Monitoring Unit. Since May 2015,

      Sergeant Smith has been subjected to discrimination on the basis of race, a hostile

      working environment, retaliation after he complained of discrimination on the basis of

      race, and discrimination on the basis of disability.

11.   Plaintiff is a high performing member of the NYPD. Prior to November 2015, he was a

      prime instructor involved in the training of cadres of the NYPD from police officers to

      captains, on the process and procedure of performance monitoring and evaluation of

      officers. Plaintiff was solely responsible for introducing an effective filing system in the

      performance monitoring unit, created the employee management division insignia;

      created an instructional power point presentation used to train officers on the tenets of the

      performance monitoring program; and modified the performance monitoring profile form

      to reflect the newly created civil law suit program. In recognition of Sergeant Smith’s

      accomplishments, in March 2015, the Baltimore Police Department officially contacted

      the NYPD with a formal request to speak to Sergeant Smith and pick his brains regarding

      the Baltimore Police Department’s misconduct monitoring program. For a period of time

      in 2015, Sergeant Smith was responsible for administering the police departments

      evaluation system for the uniformed members of the service.

12.   In the years 2013, 2014 and 2015, Sergeant Smith has received performance evaluations

      of 4.0 (highly competent) or 3.5. Although 4.0 is a relatively high rating, considering

      Sergeant Smith’s consistently high performance, this is a racially unfair rating because

                                                3
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 4 of 15



      comparably situated white co-employees in the rank of Sergeant who performed as well

      or worse than Sergeant Smith, all routinely received evaluation ratings of of 4.5 (above

      highly competent), while Sergeant Smith, who is the most senior member of the unit in

      terms of longevity, and arguably the highest performer, is given a 4.0 annual performance

      evaluation rating.

13.   The reason behind the 4.0 rating is that according to NYPD employment practice and

      procedure, while a 4.0 rating is a minimum requirement for career advancing promotions

      or transfers, a 4.5 rating is actually required for highly desirable employment

      opportunities such as promotions or transfers to elite or strategic units. In order to be

      promoted or transferred to a more desirable and better paying position, Sergeant Smith

      requires at least an annual performance evaluation rating of 4.5, and by denying him this

      rating, Sergeant Smith’s white supervisors are making sure that Sergeant Smith can not

      advance in his career within the NYPD. A rating of 4.0 puts Sergeant Smith at a

      disadvantage to his white co-employees in terms of promotions and transfers to elite

      assignments. Comparable white co-employees who performed worse or similar to

      Sergeant Smith over the same ratings period and received evaluation scores of 4.5 are

      Sergeant Piper (a white male), Sergeant Dirilik (a white female), and Lieutenant

      (formerly Sergeant) David Wittman (a white male). The plaintiff’s relatively low

      performance evaluations are racially motivated. If Sergeant Smith is white, instead of

      African-American, he would have received a 4.5 annual performance evaluation score

      along with the white Sergeants. The supervisors who are discriminating and have

      discriminated against Sergeant Smith due to his race, are Captain Richard Gubitosi (white

      male); Captain James Dennedy (white male); Inspector John Cosgrove (white male);

                                              4
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 5 of 15



      Lieutenant Alexander (white male); and Lieutenant David Wittman (white male).

14.   On or about June 9, 2014, and on or about November 25, 2015, Sergeant Smith officially

      appealed his evaluations for the 2013 and 2014-2015 ratings period. Each time, his

      appeal has been handled in a dismissive and unprofessional manner by his direct

      supervisors and they have sought to further punish him for not accepting their evaluation

      of him.

15.   For the 2013 rating period, Lieutenant David Wittman gave Sergeant Smith a rating of

      4.0 and Sergeant Smith appealed. On appeal, Deputy Chief William J. Matusiak who

      heard the appeal, agreed with Sergeant Smith that the evaluation “was based upon other

      than performance factors”. Deputy Chief Matusiak also found that five other Sergeants

      within the Performance Monitoring Unit were rated 4.5, (above highly competent), and

      finally, Deputy Chief Matusiak ruled that Sergeant Smith’s rating should be changed

      from 4.0 to 4.5.

16.   After Sergeant Smith’s successful appeal of the 2013 rating in October 2014, his white

      supervisors have purposefully and unduly delayed his appeals of the 2014 and 2015

      evaluations, by delaying any reviews and adjudications relating to Sergeant Smith’s

      rating, and simply by not informing Sergeant Smith as to their determinations at the

      appropriate time. According to Departmental procedure, an officer who is being

      evaluated is entitled to be informed as to the evaluation and is provided an opportunity to

      discuss the evaluation at the time it is made, by the person’s evaluator. In the case of the

      plaintiff, due to racial bias and prejudice, his 2015 annual evaluation, which was prepared

      by Lt. David Wittman, after Lt. Wittman had already left the Performance Monitoring

      Unit, was prepared without plaintiff’s knowledge, and therefore he was improperly

                                               5
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 6 of 15



      denied the ability to appeal the evaluation in a timely manner.

17.   Since May 2015, plaintiff’s commanding officer, Inspector John Cosgrove, has treated

      the plaintiff with unprovoked disdain and has tried to demean, and humiliate the plaintiff

      within the sight and hearing of co-workers. Inspector Cosgrove told plaintiff that plaintiff

      should transfer to another command because, he, Cosgrove, was not going to take it easy

      on the plaintiff, for previous discourtesies alleged to have been shown by the plaintiff to

      Lt. Wittman, although the alleged discourtesies occurred before Inspector Cosgrove was

      assigned to the command. This was an unprovoked threat motivated only by racial

      animus.

18.   On another occasion, Inspector Cosgrove informed the plaintiff that he, Cosgrove, had

      reviewed plaintiff’s Central Personnel Index (CPI) and that he had found an issue he was

      looking into. Such statements by the commander of the unit are unusual and was

      motivated by racial bias. By treating the plaintiff with such undisguised contempt,

      Inspector Cosgrove encouraged other members of the Performance Monitoring Unit,

      including Captain Dennedy and Lt. Alexander, to develop equal disdain for the plaintiff.

19.   Inspector Cosgrove also humiliated the plaintiff by directing him to perform duties

      normally assigned to those of lesser ranks, such as police officers or cadets, such as

      delivering mail. From about August 2015 to approximately October 2015, Inspector

      Cosgrove, via Lt. Bailey and Captain Dennedy, ordered plaintiff to do the daily mail

      deliveries from the command location to One Police Plaza. Within that period, while

      plaintiff was on his way to deliver the mail, he encountered Inspector Cosgrove who

      taunted him, saying “you don’t mind doing the mail run now, but wait until it gets cold”.

      Plaintiff was forced to deliver the mail on a daily basis for a period of approximately two

                                               6
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 7 of 15



      months.

20.   Inspector Cosgrove also demeaned the plaintiff by assigning him to watch cameras on

      February 1, 2016, even though he was well aware that plaintiff suffers from severe

      obstructive sleep apnea.

21.   In November 2015, Inspector Cosgrove stripped the plaintiff of his key training

      assignments and responsibilities with no explanation given, and then Inspector Cosgrove

      told the plaintiff that his rating annual performance evalution rating for the year 2015 was

      3.5.

22.   Inspector Cosgrove’s public humiliation of the plaintiff in front of his peers and

      surbodinates created a hostile environment for plaintiff such that members of the unit

      with whom plaintiff used to enjoy a cordial working relationship now treat him with open

      hostility. Prior to Inspector Cosgrove’s assignment to the Performance Monitoring Unit,

      plaintiff had a cordial working relationship with Sergeant Nunez, however, since

      November 2015, when Inspector Cosgrove stripped plaintiff of this trainer/instructor

      responsibilities and assigned those functions to Sergeant Nunez, Nunez has become

      openly hostile to the plaintiff. For instance, when the plaintiff routinely inquired about

      the status of a case that was transferred from the plaintiff to Sergeant Nunez, Nunez

      threw the case folder contemptuously across the room in the direction of the plaintiff, and

      then wrote on the Unit communication board, the words “Sgt Smith says, do your job”.

      Sergeant Smith reported this harassment to the Integrity Control Officer (ICO) Lt. James

      Alexander, but no action was taken.

23.   For the 2015 annual rating period, Sergeant Smith received a very unfair performance

      evaluation rating of 3.5. This evaluation was improperly prepared, according to Inspector

                                               7
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 8 of 15



      Cosgrove’s directive, by Lt. James Alexander, the ICO, who is assigned to a different

      unit from the plaintiff and who did not even supervise the plaintiff. The person who

      actually supervised the plaintiff for this period, Lt. Kamala Bailey, was allowed to

      transfer to a different unit after she refused to go along with Inspector Cosgrove’s

      directive to give the plaintiff an unfair low 3.5 rating. Inspector Cosgrove’s improper

      conduct in usurping the role of the actual supervising officer, and having a non-

      supervising officer conduct the evaluation, was motivated by racial prejudice.

24.   On or about March 14, 2016, plaintiff made a formal complaint against Inspector

      Cosgrove, to the NYPD’s Office of Equal Employment Opportunity, (OEEO) for racial

      discrimination based on Inspector Cosgrove giving the plaintiff a rating of 3.5 for the

      2015 rating period. Inspector Cosgrove has since then retaliated by wrongfully denying

      plaintiff’s reasonable line of duty designation applications on two separate occasions and

      charging the plaintiff with a bogus and unfair command discipline.

25.   In retaliation for his OEEO complaint, Inspector Cosgrove charged the plaintiff with a

      bogus command discipline (CD). A command discipline is a disciplinary charge for

      misconduct relating to your employment within the NYPD, and if accepted by the

      charged employee or sustained in a departmental hearing, will subject the person charged

      to various punitive actions including withdrawal of earned vacation time, demotions,

      punitive transfers to less desirable units, placement on the probationary performance

      program, and termination, depending on the severity of the charge.

26.   Inspector Cosgrove charged the plaintiff with a CD on or about April 15, 2016, for a

      purported tour change that occurred on January 11, 2016. Plaintiff was diagnosed with

      severe obstructive sleep apnea by the Mount Sinai Hospital World Trade Center

                                              8
        Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 9 of 15



      Monitoring Program. Plaintiff was given the date of January 11, 2016, as the only date

      available for a medical consultation regarding the treatment of his well documented

      illness. As is the practice of members assigned to the unit in requesting a tour change,

      plaintiff made an ink change on the proposed schedule leaving him free to attend the

      medical appointment, and followed up by requesting permission for the tour change from

      Captain Dennedy. Such requests are routinely granted especially when it is for a medical

      appointment as in this case. Plaintiff also spoke to Inspector Cosgrove about the

      requested tour change, and plaintiff’s need to arrive on time for the appointment. The tour

      change requested by the plaintiff was to come in earlier than scheduled and therefore

      have enough time to make it for the medical appointment. Inspector Cosgrove denied the

      tour change request and told the plaintiff that he, Cosgrove, had already picked the same

      date, January 11, 2016, to conduct a hearing on plaintiff’s appeal of his 2014 annual

      performance evaluation, which Inspector Cosgrove had unduly delayed up till then in

      order to frustrate the plaintiff.

27.   Within the Performance Monitoring Unit, it is the practice of members requesting a tour

      change to make changes on the tour schedule without prior permission from the

      supervisors. This is done on a daily and routine basis by white members of the unit as can

      be seen from a review of the daily sign in logs and corresponding schedules. That this

      privilege was denied to the plaintiff and he was additionally charged with a command

      discipline is due to the fact that Inspector Cosgrove wants to create a paper trail

      indicating a bogus pattern of disciplinary misconduct on the part of the plaintiff, in

      retaliation against the plaintiff for filing a complaint of racial discrimination.

28.   Since July 2015, plaintiff’s white supervisors have subjected plaintiff to racially

                                                 9
       Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 10 of 15



      motivated discrimination as well as discrimination on the basis of a disability, by denying

      his line of duty designation applications for certain medical conditions, without good

      cause, although they are well aware that plaintiff is entitled to have those conditions

      designated as having been incurred in the line of duty. Plaintiff was on active duty on

      September 11, 2001, at the Fresh Kills Landfill in Staten Island, in the months 9-11-01,

      assigned to search debris and recover personal belongings of victims for identification

      and recovery purposes. Plaintiff was exposed to hazardous dust and toxins while

      performing these assigned duties. Shortly after, plaintiff developed and was diagnosed

      with chronic rhinosinusitis, gastroesophageal reflux disease, asthma, chronic cough; and

      severe obstructive sleep apnea. Plaintiff developed abnormal discharges of mucus and

      found it difficult to breathe, especially at night, while sleeping. The Victim

      Compensation Fund established for victims of the World Trade Center bombings

      certified that plaintiff’s medical conditions are traceable to his World Trade Center post

      bombing assignment and therefore qualified plaintiff to be a beneficiary of that fund. As

      a result of the above illness, plaintiff was placed on restricted duty on or about February

      2015.

29.   On or about March 29, 2016, plaintiff was unable to go to work due to an episode of

      sleep apnea and gastroesophageal reflux symptoms. Plaintiff telephoned his supervisors

      to report his sickness and secure sick leave and was instructed to come to work the

      following day. On the following day, March 30, 2016, plaintiff reported to work and was

      seen by Police Surgeon (Inspector) John Santucci. Dr. Santucci, without physically

      examining the plaintiff, merely looked at the plaintiff and disdainfully asked him why he

      was on restricted duty for so long. In a very disrespectful manner, Dr. Santucci threatened

                                              10
       Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 11 of 15



      to discipline the plaintiff and possibly have plaintiff fired if plaintiff reports in sick in the

      future. Against the advise of plaintiff’s treating physician, and with no consideration for

      plaintiff’s well documented illnesses, Dr. Santucci returned plaintiff to full duty with no

      restrictions.

30.   Dr. Santucci’s treatment of the plaintiff described above was racially motivated and also

      retaliatory, because it was part of Inspector Cosgrove’s design, using other supervisors

      such as Inspector Santucci, Captain Dennedy, and Lt. Alexander, to punish the plaintiff

      for daring to make a complaint of racial discrimination.

31.   Dr. Santucci’s revocation of plaintiff’s restricted duty status also amounted to

      discrimination against the plaintiff for the disability imposed on him by his 9/11 related

      diseases. According to applicable departmental rules, procedure, executive orders and or

      usual practice, if an employee, is on less than full duty status for more than one year, then

      that employee, should be surveyed off the job, or in other words, declared medically

      disabled and physically unable to continue in the employment, and will become entitled

      to disability payments if appropriate. At the time that he was seen by Dr. Santucci,

      plaintiff had been on restricted duty for over a year and the appropriate thing to do would

      have been for Dr. Santucci to declare him as medically disabled, however, Dr. Santucci,

      in collusion with plaintiff’s other supervisors, chiefly, Inspector Cosgrove, did not want

      that outcome because it would most likely result in the plaintiff being entitled, upon his

      discharge for medical disability, not only to ordinary disability benefits, but also to the

      additional benefits provided for by the World Trade Center Disability Law. This was

      done to punish the plaintiff in retaliation for his complaints of racial discrimination, and

      to deny the plaintiff the enhanced disability benefits that are due to him by right.

                                                 11
       Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 12 of 15



32.   On or about March 31, 2016, plaintiff went back to work now on full duty and became ill

      while at work with stomach pain and shortness of breath. Plaintiff requested an

      ambulance, and was escorted to the nearby Downtown Hospital where he was treated and

      discharged. The following day, plaintiff telephoned Lt. Alexander and requested an

      emergency day off due to his ongoing illness. Such requests are routinely granted in those

      circumstances. In this case, the request was denied.

33.   Plaintiff’s line of duty applications for these illnesses were wrongfully denied in

      retaliation for his racial discrimination complaint.

34.   The denial of plaintiff’s line of duty application for line of duty designations supplied

      Inspector Cosgrove with a pretextual reason to give the plaintiff a low annual

      performance evaluation rating of 3.5 for the year 2015. Plaintiff was unfairly rated

      designated Chronic Sick A, by the medical division because he was not granted the

      benefit of the line of duty designation.

                       AS AND FOR A FIRST CAUSE OF ACTION

35.   Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

36.   The Defendants discriminated against Plaintiff on the basis of his race in violation of

      Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000(e) et seq.

                     AS AND FOR A SECOND CAUSE OF ACTION

37.   Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

38.   The Defendants discriminated against Plaintiff on the basis of his race in violation of

      New York State Executive Law (Human Rights Law) §296.

                      AS AND FOR A THIRD CAUSE OF ACTION

39.   Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

                                                 12
       Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 13 of 15



40.   The Defendants discriminated against Plaintiff on the basis of his race, in violation of

      Administrative Code of the City of New York.

                     AS AND FOR A FOURTH CAUSE OF ACTION

41.    Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

42.   The Defendants retaliated against Plaintiff because he complained about the

      discriminatory treatment he was subjected to as a result of his race, in violation of Title

      VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000(e) et seq.

                       AS AND FOR A FIFTH CAUSE OF ACTION

43.   Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

44.   The Defendants retaliated against Plaintiff because he complained about the

      discriminatory treatment she was subjected to as a result of his national origin, in

      violation of New York State Executive Law.

                       AS AND FOR A SIXTH CAUSE OF ACTION

45.   Plaintiff adopts and incorporates each allegation set forth above in support of this count.

46.   In light of the foregoing therefore, the Defendants retaliated against Plaintiff because he

      complained about the discriminatory treatment he was subjected to as a result of his

      national origin, in violation of the Administrative Code of the City of New York.

                    AS AND FOR A SEVENTH CAUSE OF ACTION

47.   Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

48.   The Defendants discriminated against Plaintiff on the basis of his disability, in violation

      of the Americans With Disabilities Act of 1990.

                    AS AND FOR AN EIGHTH CAUSE OF ACTION

49.   Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

                                               13
           Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 14 of 15



50.      The Defendants discriminated against Plaintiff on the basis of his disability, in violation

         of New York State Executive Law (Human Rights Law) §296.

                          AS AND FOR A NINTH CAUSE OF ACTION

51.       Plaintiff repeats and re-alleges each allegation set forth above in support of this count.

52.      The Defendants discriminated against Plaintiff on the basis of his disability, in violation

         of the Administrative Code of the City of New York.



                         PRAYER FOR RELIEF AND JURY DEMAND

WHEREFORE, Plaintiff Cyress Smith demands judgment as follows:

      a. Against the Defendants, declaring the acts and practices complained of herein are in

         violation of the Title VII of the Civil Rights Act of 1964, Human Rights Law of the City

         of New York and the Laws of the State of New York, and the Americans With

         Disabilities Act of 1990.

      b. Enjoining and permanently restraining these violations of the Human Rights Laws of the

         City of New York and the Laws of the State of New York;

      c. Directing Defendants to pay Plaintiff an additional amount as compensatory damages for

         his pain and suffering;

      d. Directing Defendants to pay Plaintiff an additional amount as punitive damages for their

         willful and/or reckless disregard for Plaintiff’s statutory rights;

      e. Awarding Plaintiff such interest as is allowed by law;

      f. Awarding Plaintiff reasonable attorney’s fees and costs;

      g. Trial by Jury; and

      h. Granting such and further relief as this Court deems necessary and proper.

                                                   14
         Case 1:17-cv-00970-VEC Document 2 Filed 02/10/17 Page 15 of 15



   Awarding Plaintiff, Cyress Smith, such damages as may be proved at trial, including

reinstatement, back pay, front pay, compensatory damages, and punitive damages as well as

costs and disbursements of this action.




Dated:         New York, New York          Respectfully submitted,
               February 10, 2017

                                           ______/s/_______________
                                           Chukwuemeka Nwokoro (CN-1038)
                                           Nwokoro & Scola, Esquires
                                           Attorney for Plaintiff Cyress Smith
                                           44 Wall Street, Suite 1218
                                           New York, NY 10005
                                           (212) 785-1060
                                           Emekanwokoro101@yahoo.com




                                             15
